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AO 442 (Rev. 11/11) Arrest Warrant



                                          UNITED STATES DISTRICT COURT
                                                                  for the

                                                           District of Columbia

                  United States of America
                                 v.                                 )
                                                                         Case: 1:24-mj~00280
                                                                    )
                Kristen Oliver Cunningham                           )
                                                                         Assigned to: Judge Upadhyaya" MoxUa A..
                                                                    )    Assign Date: 9/4/2024
                                                                    )    Description; COMPLAINT WI AHREST WARRANT
                                                                    )
                             Defendant


                                                        ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Kristen Oliver Cunningham
who is accused of an offense or violation based on the following document filed with the court:

o Indictment        0 Superseding Indictment    0 Information       0 Superseding Information                          ]I Complaint
o Probation Violation Petition    0 Supervised Release Violation Petition   o Violation Notice                         0 Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1752(a)(l) - Entering and Remaining in a Restricted Building or Grounds;
18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
40 U.S.C. § 5104(e)(2)(D) Disorderly Conduct in a Capitol Building;
40 U.S.c.     § 5104(e)(2)(G)         Parading, Picketing, and Demonstrating      in a Capitol Building.



Date: --~-"-"-'='-'--
          09/04/2024
                                                                                            Issuing officer's signature


City and state:                      Washington, D.C.                       Moxila A. Upadhyaya,          U.S. Magistrate Judge
                                                                                              Printed name and title


                                                                 Return

           This warrant was received on (date)      9 14/ Z If          , and the person was arrested on (date)           ~   I Co I z ~
at (city and state)  A e.C.A;T A., (A L \ (0 e rJ \ A

Date:    9 / I Z/24
                                                                                             Printed name and title
                    Case 1:24-mj-00280-MAU Document 10 Filed 09/17/24 Page 2 of 14
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of &ROXPELD

                  United States of America                          )
                             v.                                     )
Kristen Oliver Cunningham, (DOB: XXXXXXXXX)                         )      Case No.
Stacey Lynne Urhammer, (DOB: XXXXXXXX)                              )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of                             in the
                         LQ WKH 'LVWULFW RI       &ROXPELD      , the defendant(s) violated:

            Code Section                                                     Offense Description

            18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds;
            18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
            40 U.S.C. § 5104(e)(2)(D) Disorderly Conduct in a Capitol Building;
            40 U.S.C. § 5104(e)(2)(G) Parading, Picketing, and Demonstrating in a Capitol Building.


         This criminal complaint is based on these facts:
  6HH DWWDFKHG VWDWHPHQW RI IDFWV




         9
         u Continued on the attached sheet.




$WWHVWHG WR E\ WKH DSSOLFDQW LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV RI )HG 5 &ULP 3 
E\ WHOHSKRQH

Date:             09/04/2024
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ '&                      Moxila A. Upadhyaya, U.S. Magistrate Judge
                                                                                               Printed name and title
        Case 1:24-mj-00280-MAU Document 10 Filed 09/17/24 Page 3 of 14




                                  STATEMENT OF FACTS

        Your affiant,                   , is a Special Agent assigned to the Federal Bureau of
Investigation (“FBI”) San Francisco Field Office. In my duties as a Special Agent, I have
investigated allegations associated with domestic terrorism. I have completed training and gained
experience in interviewing and interrogation techniques, arrest procedures, search warrant
applications, the execution of searches and seizures, and various other criminal laws and
procedures. Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around
the U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate
were meeting in separate chambers of the United States Capitol to certify the vote count of the
Electoral College of the 2020 Presidential Election, which had taken place on November 3, 2020.
The joint session began at approximately 1:00 p.m. EST Shortly thereafter, by approximately
1:30 p.m. EST, the House and Senate adjourned to separate chambers to resolve a particular
objection. Vice President Mike Pence was present and presiding, first in the joint session, and
then in the Senate chamber.

        As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.

        Shortly thereafter, at approximately 2:20 p.m. EST members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice
President Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the
joint session of the United States Congress was effectively suspended until shortly after 8:00
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p.m. EST. Vice President Pence remained in the United States Capitol from the time he was
evacuated from the Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol
building without authority to be there.

       Identification of Kristen Oliver Cunningham and Stacey Lynne Urhammer

       On September 22, 2021, FBI received information regarding KRIS CUNNINGHAM and
STACEY LOESER or STACEY URHAMMER having attended the Capitol riot on January 6,
2021. On August 1, 2022, the FBI interviewed a tipster who was aware of CUNNINGHAM and
URHAMMER being present at the capitol. The tipster, someone with a relationship to
CUNNINGHAM and URHAMMER, received information from a friend stating that
CUNNINGHAM had been present at the January 6th riots along with his partner URHAMMER.
    The tipster confronted URHAMMER about her being inside the Capitol, and
URHAMMER eventually admitted that both she and CUNNINGHAM went inside the Capitol.
        The tipster provided direct messages from Instagram between the tipster and
URHAMMER through URHAMMER’s known Instagram account. In these messages,
URHAMMER stated that she and CUNNINGHAM were at the Capitol on January 6, 2021, that
it was her idea to attend, and that CUNNINGHAM joined to protect her.
        In an interview conducted by the FBI, the tipster identified both CUNNINGHAM and
URHAMMER in photographs taken of the subjects at the Capitol. The tipster was shown Image
2 and Image 7, as labeled below, and confirmed that URHAMMER and CUNNINGHAM were
the individuals in those photographs.
          Cunningham and Urhammer activity at the U.S. Capitol on Jan. 6, 2021
       The affiant reviewed closed-caption video (“CCV”) from the U.S. Capitol Police
(“USCP”), and other images/video taken by individuals in the crowd that capture
CUNNINGHAM and URHAMMER at several different locations within the U.S. Capitol
building and grounds on January 6, 2021.
       CUNNINGHAM entered the Capitol at approximately 2:18 p.m. through the Senate
Wing Door. See Image 1. CUNNINGHAM wore a green jacket, jeans, dark boots, a red Under
Armor bag on his back, a red hat with a black beanie underneath, and a black face mask.
URHAMMER wore a red patterned jacket with a dark hooded jacket underneath, a grey beanie
under the hood of the dark jacket, an American flag bandana or scarf, a gold necklace, and a
black purse. See Image 2. CUNNINGHAM is seen with URHAMMER entering and moving
through the Capitol.
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impedes or disrupts the orderly conduct of Government business or official functions; or attempts
or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that CUNNINGHAM and
URHAMMER violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully
and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 4th day of September 2024.


                                                      ___________________________________
                                                      MOXILA A. UPADHYAYA,
                                                      U.S. MAGISTRATE JUDGE
                   Case 1:24-mj-00280-MAU Document 10 Filed
DOCUMENTS UNDER SEAL
                                                            09/17/24 Page 1130of 14
                                                          TOTAL TIME (m ins):
M AGISTRATE JUDGE                          DEPUTY CLERK                             REPORTER/FTR
M INUTE ORDER                             Emma Philbrook/Gloria Knudson            Zoom Webinar: 9:59-10:29
MAGISTRATE JUDGE                           DATE                                     NEW CASE         CASE NUMBER
Robert M. Illman                           September 6, 2024                                       24-mj-71326
                                                       APPEARANCES
DEFENDANT                                  AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                 PD.      RET.
Kristen Oliver Cunningham                   53       Y         P      Daniel Blank by Zoom               APPT.
U.S. ATTORNEY                              INTERPRETER                            FIN. AFFT            COUNSEL APPT'D
Casey Boome by Zoom                                                               SUBMITTED     Provisionally
PROBATION OFFICER             PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR         PARTIAL PAYMENT
                                                                       APPT'D COUNSEL           OF CJA FEES
                                         PROCEEDINGS SCHEDULED TO OCCUR
          INITIAL APPEAR            PRELIM HRG       MOTION           JUGM'T & SENTG                          STATUS
      14                                                                                                      TRIAL SET
          I.D. COUNSEL              ARRAIGNMENT             BOND HEARING           IA REV PROB. or            OTHER
      1                                                   15                       or S/R
          DETENTION HRG             ID / REMOV HRG          CHANGE PLEA            PROB. REVOC.               ATTY APPT
                                                                                                              HEARING
                                                      INITIAL APPEARANCE
           ADVISED               ADVISED                  NAME AS CHARGED             TRUE NAME:
           OF RIGHTS             OF CHARGES               IS TRUE NAME
                                                         ARRAIGNM ENT
          ARRAIGNED ON               ARRAIGNED ON              READING W AIVED            W AIVER OF INDICTMENT FILED
          INFORMATION                INDICTMENT                SUBSTANCE
                                                          RELEASE
      RELEASED             ISSUED                     AMT OF SECURITY         SPECIAL NOTES            PASSPORT
      ON O/R               APPEARANCE BOND            $ UNSECURED                                      SURRENDERED
                                                                                                       DATE:
PROPERTY TO BE POSTED                            CORPORATE SECURITY                    REAL PROPERTY:
    CASH    $


      MOTION             PRETRIAL                DETAINED          RELEASED      DETENTION HEARING            REMANDED
      FOR                SERVICES                                                AND FORMAL FINDINGS          TO CUSTODY
      DETENTION          REPORT                                                  W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                             PLEA
    CONSENT                     NOT GUILTY                  GUILTY                   GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA              PLEA AGREEMENT           OTHER:
    REPORT ORDERED                                          FILED
                                                         CONTINUANCE
TO:                                 ATTY APPT               BOND                  STATUS RE:
                                    HEARING                 HEARING               CONSENT                TRIAL SET

AT:                                 SUBMIT FINAN.           PRELIMINARY           CHANGE OF              STATUS
                                    AFFIDAVIT               HEARING               PLEA
                                                            _____________
BEFORE HON.                         DETENTION               ARRAIGNMENT            MOTIONS               JUDGMENT &
                                    HEARING                                                              SENTENCING

          TIME W AIVED              TIME EXCLUDABLE         IDENTITY /            PRETRIAL               PROB/SUP REV.
                                    UNDER 18 § USC          REMOVAL               CONFERENCE             HEARING
                                    3161                    HEARING
                                                 ADDITIONAL PROCEEDINGS
Case unsealed. DPPA advised. Rule 5 waiver signed. Next appearance 9/17/2024 9:30 PST by Zoom. FPD provisionally
appointed to be relieved upon Defendant's appearance at charging district's hearing. Time excluded 9/6/2024-9/17/2024
effective preparation of counsel.
                                                                                        DOCUMENT NUMBER:
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                                    U.S. District Court
                        California Northern District (San Francisco)
                  CRIMINAL DOCKET FOR CASE #: 3:24-mj-71326-MAG-1


Case title: USA v. Cunningham et al                                Date Filed: 09/05/2024

Other court case number: 1:24-mj-00280 District of Columbia


Assigned to: Magistrate Judge

Defendant (1)
Kristen Oliver Cunningham                          represented by Daniel P Blank
                                                                  Office of the Federal Public Defender
                                                                  450 Golden Gate Avenue
                                                                  Room 19-6884, Box 36106
                                                                  San Francisco, CA 94102
                                                                  415-436-7700
                                                                  Fax: 415-436-7706
                                                                  Email: daniel_blank@fd.org
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED
                                                                  Designation: Public Defender or
                                                                  Community Defender Appointment

Pending Counts                                                     Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                                  Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                         Disposition
18 U.S.C. § 1752(a)(1) (Entering and
Remaining in a Restricted Building or
Grounds) 18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds) 40 U.S.C. §
5104(e)(2)(D) (Disorderly Conduct in a
                Case 1:24-mj-00280-MAU Document 10 Filed 09/17/24 Page 14 of 14
Capitol Building) 40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in a
Capitol Building)



Plaintiff
USA                                             represented by Casey Boome
                                                               U.S. Attorney's Office
                                                               Criminal Division
                                                               450 Golden Gate Ave.
                                                               Box 36055
                                                               San Francisco, CA 94102
                                                               415-436-6627
                                                               Fax: 415-436-7234
                                                               Email: casey.boome@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Assistant US Attorney


Date Filed   # Docket Text
09/05/2024   1 Notice of Proceedings on Out-of-District Criminal Charges Pursuant to Rules 5(c)(2) and
               (3) of the Federal Rules of Criminal Procedure as to Kristen Oliver Cunningham (1), Stacey
               Lynne Urhanner (2). (Attachments: # 1 Order) (exl, COURT STAFF) (Filed on 9/5/2024)
               (Entered: 09/05/2024)
09/06/2024   2 Minute Entry for proceedings held before Magistrate Judge Robert M. Illman: Initial
               Appearance as to Kristen Oliver Cunningham held on 9/6/2024

                The Court directs entry of the following Order: Pursuant to the Due Process Protection Act,
                the Court advised government counsel of the government's disclosure obligations under
                Brady v. Maryland and its progeny, and that the failure to do so in a timely manner may
                result in dismissal of the indictment or information, dismissal of individual charges,
                exclusion of government evidence or witnesses, or any other remedy that is just under the
                circumstances.

                ID of Counsel Hearing as to Kristen Oliver Cunningham held on 9/6/2024, Bond Hearing as
                to Kristen Oliver Cunningham held on 9/6/2024, Added attorney Daniel P Blank for Kristen
                Oliver Cunningham. Case unsealed. Rule 5 waiver signed. Next appearance 9/17/2024 9:30
                PST by Zoom. FPD provisionally appointed to be relieved upon Defendant's appearance at
                charging district's hearing. Time excluded 9/6/2024-9/17/2024 effective preparation of
                counsel. Recording Time Zoom Webinar: 9:59-10:29. (exl, COURT STAFF) (Filed on
                9/6/2024) (Entered: 09/10/2024)
09/06/2024   3 ORDER Setting Conditions of Release Unsecured Bond Entered as to Kristen Oliver
               Cunningham. Signed by Magistrate Judge Robert M. Illman on 9/6/2024. (exl, COURT
               STAFF) (Filed on 9/6/2024) (Entered: 09/10/2024)
09/06/2024   4 WAIVER of Rule 5 & 5.1 Hearings by Kristen Oliver Cunningham (exl, COURT STAFF)
               (Filed on 9/6/2024) (Entered: 09/10/2024)
